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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

UNITED STATES OF AMERICA                                                       PLAINTIFF

v.                              No. 4:09CR00322-02 JLH

GERALD HOPKINS, JR.                                                         DEFENDANT

                                        ORDER

      Gerald Hopkins, Jr.’s unopposed motion for early termination of supervised release is

GRANTED. Document #118. Hopkins is hereby released from further supervision.

      IT IS SO ORDERED this 9th day of April, 2013.




                                                J. LEON HOLMES
                                                UNITED STATES DISTRICT JUDGE
